UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF LOUISIANA

NOTICE OF DOCUMENTS NOT FILED IN RECORD

CIVIL NO. 03 CV 495

EARNESTINE OBY

VERSUS

BATON ROUGE MARRIOT ET AL

ATTACHMENTS TO

MOTION FOR SUMMARY JUDGMENT

FILED ON 4/29/04 IN THE ABOVE CAPTIONED CASE HAVE BEEN
PLACED BEHIND THE RECORD

S. HAWKINS
DEPUTY CLERK

 

INITIALS

DOCKET#

 

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